     Case 4:19-cv-01472 Document 16 Filed on 11/18/19 in TXSD Page 1 of 1
                                                                                            United States District Court
                                                                                              Southern District of Texas

                                                                                                 ENTERED
                                                                                              November 18, 2019
                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                   David J. Bradley, Clerk
                                  HOUSTON DIVISION


Joe A. Gutierrez                                   §
                                                   §
versus                                             §             Civil Action 4:19−cv−01472
                                                   §
Portfolio Recovery Associates, LLC                 §

                                               ORDER

      It is ORDERED that the following deadlines are RESET:.

July 31, 2020                        JOINT PRETRIAL ORDER AND MOTIONS IN LIMINE
                                     Plaintiff is responsible for timely filing the complete joint pretrial
                                     order. All information is to comply with the disclosure
                                     requirements of Fed. R. Civ. P. 26(a)(3). All parties are directed to
                                     read the Court's Procedures regarding required trial documents
                                     and procedures.

August 7, 2020, 03:00 PM             DOCKET CALL Other than as set out in the Court's Procedures,
Courtroom 600 in Houston             no pleading or document filed within seven days of docket call
                                     will be considered by the Court. Any pending motions may be
                                     ruled on at docket call, the case will be set for trial, and further
                                     pretrial orders may be issued.

September/October 2020               JURY TRIAL Case is subject to being called to trial on short
                                     notice during this term.
                                     Estimated Trial Time: 4 days.

      All other deadlines shall remain in place.

      SIGNED on the 18th of November 2019.
